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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  KDE/KCB                                            271 Cadman Plaza East
  F.#2015R00270                                      Brooklyn, New York 11201



                                                     June 9, 2021


  By ECF and E-mail

  The Honorable Ann M. Donnelly
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     United States v. John Simonlacaj
                        Criminal Docket No. 19-575 (AMD)

  Dear Judge Donnelly:

                 The government respectfully submits this letter in advance of the defendant John
  Simonlacaj’s sentencing, which is scheduled for June 16, 2021, at 10:30 a.m. In light of the
  factors set forth in 18 U.S.C. § 3553(a), the government requests, in accordance with the
  recommendation of the Probation Department, that the Court impose a sentence of 10 months’
  imprisonment and a fine of $20,000.

  I.     Background

                 “This will never happen again.” That is what the defendant promised the
  Honorable Vincent L. Briccetti, United Stated District Judge for the Southern District of New
  York, on September 16, 2016, at his sentencing for aiding and abetting the filing of a false tax
  return. (See Ex. A (Sept. 16, 2016 Sentencing Tr.), at 53)). The defendant claimed he was
  “ashamed of what [he] did” and needed to “apologize” to both the court and the government.
  (Id.). In light of all the facts and circumstances of that case, Judge Briccetti sentenced the
  defendant to just three months’ imprisonment, well below the 12-to-18-month Guideline
  range.

                 As it turns out, it did happen again, and then some. On January 12, 2021,
  Simonlacaj pleaded guilty to Count 21 of the above-referenced indictment for knowingly and
  intentionally failing to declare as income free work performed on his residence by, among
  others, CWC Contracting Corp. (“CWC”), a carpentry company operated by Gambino
  organized crime family captain Andrew Campos that had extensive business with Simonlacaj’s
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  then-employer (described in the Presentence Investigation Report (“PSR”) as “Construction
  Company #1”).

                 Specifically, beginning at least as early as 2016 and through 2019, CWC,
  together with others, performed free work – including the provision of labor, materials, and
  rental and delivery of equipment – at Simonlacaj’s residence in Scarsdale, New York, the value
  of which totaled over $100,000. (See PSR ¶ 49). Of this amount, approximately $56,000 in
  work was completed in calendar year 2018 and not declared as income in Simonlacaj’s March
  2019 filing. For instance, as part of this scheme, Mark “Chippy” Kocaj, a principal of CWC
  and co-defendant and relative of Simonlacaj, directed a subcontractor (the “Owner”) to
  perform work at Simonlacaj’s residence, which he did in 2018. Kocaj told the Owner to bill
  CWC for this work by providing an invoice that falsely stated it was related to a construction
  project managed by Construction Company #1 on which CWC worked. (PSR ¶ 51). The
  Owner was paid for this work by, among other things, two $20,000 checks issued by CWC
  dated October 31, 2018, and November 28, 2018. (See id.).

                 These extensive, free benefits were not an unreported gift from the Gambino
  crime family to their friend, Simonlacaj. These benefits were not undeclared income from a
  side business or a payment to someone in need. Rather, they were bribes – extensive in-kind
  benefits to Simonlacaj, then Construction Company #1’s Managing Director for Development,
  calculated to secure and maintain Simonlacaj’s support for CWC, in violation of Simonlacaj’s
  fiduciary duties to his employer.1 See generally United States v. Skelos, 988 F.3d 645, 655
  (2d Cir. 2021) (explaining that to prove an illegal quid pro quo, the government “does not have
  to prove an explicit promise to perform a particular act made at the time of payment so long
  as the general nature of the act to be taken was understood at the time of the payment” (internal
  citation marks omitted)).

                 Indeed, while the free work on Simonlacaj’s house was being performed, CWC
  principals often commented about how they enjoyed special privileges with Simonlacaj and
  Construction Company #1. In fact, CWC secured multiple projects with Construction
  Company #1, so many that Campos directed that they form a new corporation, Eastern Interiors
  LLC (nominally operated by co-defendant and Gambino crime family soldier James Ciaccia)
  to avoid the appearance of having so many projects with the same company. (PSR ¶ 39). As
  Kocaj recounted in a lawfully recorded conversation on November 8, 2018, “What do you
  think I am around for? If it was not for my cousin [i.e., Simonlacaj] you guys would not be
  where you are today. . . . . When this company started it started because of me.” (PSR ¶ 55).

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            As explained herein and in the PSR, the government’s decision to permit Simonlacaj
  to plead guilty to one of the two charged offenses as part of a global disposition is not “a
  recognition that the Government could not prove that count at trial.” June 2, 2021 PSR Obj.
  Ltr. at 1. As the government stated at the plea proceeding for Kocaj, who pleaded guilty to the
  wire fraud conspiracy in which Simonlacaj was also charged, this offense included
  “fraudulently paying for work that was performed at the residence of an employee of
  Construction Company Number 1.” (Ex. B, Jan. 15, 2021 Plea Hr’g Tr. at 59).


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  And there are multiple instances in which Campos, Kocaj and co-defendant (and Gambino
  crime family soldier) Vincent Fiore sought Simonlacaj’s assistance in, among other things,
  securing payment and approving change orders, which Simonlacaj did – including while the
  free work at the home was being performed. (See, e.g., PSR ¶¶ 55-56 (describing, among other
  things, a $330,000 change order for CWC’s benefit dated May 3, 2019 with the notation “Per
  John Si,” and other requests for payment to CWC, including in May 2019 in which Kocaj
  texted Simonlacaj, “I’m getting a lot of pressure from my office about the funding. I reached
  out but no one is getting back to me. Help!!!!”)).

                   Other co-conspirators also were explicit about the illicit relationship with
  Simonlacaj. For instance, on January 31, 2019, in a recorded conversation, Fiore, one of the
  principals of CWC, spoke with another individual about obtaining work and bragged about the
  illicit relationship they had with Simonlacaj. Fiore stated, “I’ll bring Mark [i.e., Kocaj] with
  me, his name is Chippy, he’s uh, the cousin, so you know but keep it to yourself, the cousin of
  [Construction Company #1], this director, John [i.e., Simonlacaj]. There’s a beautiful in there.
  There’s things we can do with Chippy there, he whispers what he needs to whisper and we get
  things done.” (PSR ¶ 54).

                  Fiore also described the free benefits being provided to Simonlacaj. In another
  conversation on March 2, 2019, Fiore complained about Campos’s decision to agree to do
  more work at a Construction Company #1 project, stating, “I don’t give a fuck what John [i.e.,
  Simonlacaj] say, he don’t give a fuck, he gets his, win, lose or draw. He gonna give it back if
  we lose? He gonna say sorry guys, you lose, throw it in?” And Simonlacaj himself made clear
  the importance of the work being performed on his home, writing in a text message to Kocaj,
  “Please tell Benny [i.e., co-defendant Benito Dizenzo who performed much of the work] stop
  crying all the time. Need to finish. This is my house not a fucking job site tell him. Or will
  just call someone else he he [sic] can go fuck himself.” (PSR ¶ 52).

                 As noted above, CWC’s performance of work on Simonlacaj’s residence was
  not legitimate work, and as such, CWC did not have a project on its books that referred to
  Simonlacaj’s residence. Rather, CWC, including Campos, Fiore, Kocaj and others,
  fraudulently accounted for the expenditures by claiming that they related to legitimate
  Construction Company #1 projects. For instance, on March 15, 2019, Fiore told Campos that
  CWC owed money to a subcontractor for “John Si’s house.” (PSR ¶ 57). Later that day, Fiore
  told a co-conspirator to fraudulently account for the payments on CWC’s books, stating, “I
  just got off the phone with Andrew [Campos] a couple minutes ago. . . . [The street of
  Simonlacaj’s residence. The subcontrator’s] owed eight days over there. . . . Put that against
  [i.e., account for it as an expenditure related to] 76 11[th Avenue, a project managed by
  Construction Company #1]. Chippy knows about that as well. That’s, um, John Si’s house.”
  (Id.) In addition to proving that CWC committed tax fraud by accounting for these costs as
  legitimate business expenses, this also shows the illegality of the scheme – the benefits to
  Simonlacaj had to be hidden so as not to appear in its financial statements.




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                If there were any doubts as to the true nature of the benefits provided to
  Simonlacaj, Kocaj eliminated them in a recorded conversation on February 25, 2019, with
  another individual (“Individual-1”):

                Individual-1:     Who did all the work up there [i.e., at the Simonlacaj
                                  residence]? Did we do it?
                Kocaj:            We did it.
                Individual-1:     Who, Benny [i.e., co-defendant Benito Dizenzo]?
                Kocaj:            Benny. And your guys.
                Individual-1:     My guys?
                Kocaj:            [Unintelligible (“UI”)] and all them.
                Individual-1:     I thought they were at Larkin [Plaza, another CWC project]?
                Kocaj:            No, they took them there. A couple days here and there.
                                  They know, Andrew [i.e., Campos] knows.
                Individual-1:     I’m sure he knows.
                Kocaj:            Right . . . [UI] pay for it.
                Individual-1:     Who paid for it, him? He [Simonlacaj] paid for it out of his
                                  own pocket?
                Kocaj:            No, he put it – he made him put a change order in.
                Individual-1:     Oh.
                Kocaj:            I’m just saying, he didn’t have to do that. It should have
                                  been pro bono.
                Individual-1:     Right.
                Kocaj:            Write it off.
                Individual-1:     I guess.
                Kocaj:            They do 50 million a year in business. No?
                Individual-1:     Right, worth 200 grand.
                Kocaj:            Whatever, a hundred, hundred and fifty, whatever it was.
                                  You don’t think it’s worth it to do some of the paperwork?
                Individual-1:     He had to do it with everybody.
                Kocaj:            Yea.
                Individual-1:     So he got it for free. I can’t even get a fucking, I can’t get
                                  [materials from the Owner’s company].
                Kocaj:            Even [the Owner’s materials], 50,000.
                Individual-1:     [The Owner] paid for it?
                Kocaj:            No. . . . put in a change order.

  (PSR ¶ 50). In other words, Kocaj confirmed that it was “worth it” for CWC to perform “a
  hundred, hundred and fifty” thousand dollars in free work at Simonlacaj’s residence because
  Construction Company #1 does “50 million a year in business.” In fact, Kocaj admitted that
  the work performed by CWC should have been done “pro bono,” i.e., paid for by CWC but
  instead that Simonlacaj directed that the work was to be fraudulently paid for by Construction
  Company #1 through a “change order,” i.e., an adjustment to the contract for work purportedly
  performed by CWC on a legitimate Construction Company #1 project.



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               Simonlacaj was arrested on December 6, 2019. Thereafter, in August 2020,
  Simonlacaj took it upon himself to approach a possible witness in this case, the Owner
  described above, with sensitive material disclosed pursuant to Federal Rule of Criminal
  Procedure 16. Simonlacaj stated, in sum and substance, that he (Simonlacaj) did not believe
  the Owner had been paid for the work the Owner performed at his house – which had been
  completed two years prior and which the Owner had been paid for by CWC – and offered to
  pay the Owner. The Owner demurred and referred Simonlacaj to his counsel. (See PSR ¶ 51).

  II.    Applicable Law

                In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court set forth the
  procedure that sentencing courts must follow in light of United States v. Booker, 543 U.S. 220,
  258-60 (2005):

                [A] district court should begin all sentencing proceedings by
                correctly calculating the applicable Guidelines range. As a matter
                of administration and to secure nationwide consistency, the
                Guidelines should be the starting point and the initial benchmark.

  Gall, 552 U.S. at 49 (citation omitted). Next, a district court must “consider all of the
  § 3553(a) factors to determine whether they support the sentence requested by a party. In so
  doing, [a district court] may not presume that the Guidelines range is reasonable. [A district
  court] must make an individualized assessment based on the facts presented.” Id. at 49-50
  (citation and footnote omitted).

                 Section 3553(a) directs the sentencing court to consider the following factors,
  among others, when imposing a particular sentence: (1) the nature and circumstances of the
  offense and the history and characteristics of the defendant; and (2) the need for the sentence
  imposed: (A) to reflect the seriousness of the offense, to promote respect for the law, and to
  provide just punishment for the offense; (B) to afford adequate deterrence to criminal conduct;
  and (C) to protect the public from further crimes of the defendant.

                At sentencing, “the court is virtually unfettered with respect to the information
  it may consider.” United States v. Alexander, 860 F.2d 508, 513 (2d Cir. 1988). Indeed, Title
  18, United States Code, Section 3661 expressly provides that “[n]o limitation shall be placed
  on the information concerning the background, character, and conduct of a person convicted
  of an offense which a court of the United States may receive and consider for the purpose of
  imposing an appropriate sentence.” Thus, the Court must first calculate the correct Guidelines
  range, and then apply the Section 3553(a) factors to arrive at an appropriate sentence,
  considering all relevant facts.




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  III.   Guidelines Analysis

         A.     The Government’s Estimate of the Guidelines

                 The government respectfully submits that the PSR’s calculation of the
  Sentencing Guidelines is correct. Specifically, approximately $56,000 in free work that was
  paid for and performed in 2018 and undeclared on Simonlacaj’s tax return corresponds to a
  tax loss of at least $15,000 and a base offense level of 12. See U.S.S.G. §§ 2T1.1(a)(1),
  2T4.1(d). Two points are removed for acceptance of responsibility pursuant to U.S.S.G.
  § 3E1.1(a), which would yield a total offense level of 10 and a Guidelines range of 8 to 14
  months in prison as Simonlacaj is in Criminal History Category II from his prior tax
  conviction. As all the defendants pleaded guilty pursuant to a global agreement, the
  government agreed to request that the Court provide another two-level reduction pursuant to
  U.S.S.G. § 5K2.0, resulting in a final offense level of 8 and a Guidelines range of 4 to 10
  months’ imprisonment.

         B.     The Defendant’s Objections to the Presentence Report and the Guidelines
                Calculation

                In his June 2, 2021 letter to the Probation Department and his sentencing
  submission to the Court, see ECF Dkt. No. 300, Simonlacaj offers a litany of objections to the
  PSR, which the government categorizes and addresses below:

                1.      Context for the Case and Allegations Relating to Co-Conspirators

                 Simonlacaj objects to wide swaths of the PSR that describe co-defendants’
  crimes in which Simonlacaj did not participate, as well as allegations regarding the Gambino
  crime family. See June 2, 2021 PSR Obj. Ltr at 1-3. Of course, the government does not argue
  that the defendant should be sentenced for crimes he did not commit. But allegations relating
  to Simonlacaj’s co-defendants – including Campos, Fiore, and Kocaj, with whom Simonlacaj
  was charged in Count Sixteen relating to the scheme to defraud Construction Company #1,
  and to which Kocaj pleaded guilty – provide proper context for the Court to consider in
  imposing sentence. At a minimum, Simonlacaj’s conscious choice to do extensive business
  with members of the Mafia – and therefore a description of what the Gambino crime family is
  and how it operates – are relevant facts for this court to consider under 18 U.S.C. § 3553(a). 2

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           For the same reasons, Simonlacaj’s overwrought complaint about the government’s
  press release announcing the guilty pleas in this case – describing how a captain and 10
  member and associates of the Gambino crime family were convicted – is simply off-base. See
  Def. Sentencing Mem. at 26-27 (complaining that the “Government (and, of course, the
  resulting press) continues to falsely label [Simonlacaj] a Mafia associate” because the press
  release “not so subtly impl[ied] that [Simonlacaj] admitted being an associate of organized
  crime when of course, John admitted no such thing as it simply is not so (bold and italics in
  original)). Simonlacaj’s eleven co-defendants were alleged in the indictment to be a captain,
  soldier or associate of the Gambino crime family; the press release headline reported that those

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                2.      Aliases

                Simonlacaj also object to the “alias” section of the PSR, which reports that
  Simonlacaj was referred to as “John Si” and “Smiley” because “there is no evidence he uses
  those or any aliases.” June 2, 2021 PSR Obj. Ltr. at 2. Whether or not Simonlacaj refers to
  himself by these names, others, including co-conspirators, clearly do, and therefore this is
  appropriate. (See, e.g., PSR ¶¶ 53, 56-57.)

                3.      Use of Fraudulent Invoices to Pay for Work

                 In both his PSR objection letter and his sentencing submission, Simonlacaj
  challenges the fact that Owner submitted a fraudulent invoice to be paid for work he performed
  at Simonlacaj’s residence, for which the Owner was paid in two checks issued in 2018 (and
  therefore justifying the tax loss of at least $15,000). See June 2, 2021 PSR Obj Ltr. at 3-4;
  Def. Sentencing Mem. at 30-31. None of Simonlacaj’s arguments have merit.

                 First, Simonlacaj claims that these facts (and the others relating to the fraud
  scheme described above and in the PSR) are categorically irrelevant because “they relate to an
  alleged crime that is to be dismissed at sentencing.” June 2, 2021 PSR Obj. Ltr. at 3. Although
  Simonlacaj can challenge facts in the PSR, it is axiomatic that uncharged and even acquitted
  conduct, particularly crimes related to the offense of conviction, can and should be considered
  by a court at sentencing. See, e.g., United States v. Gotti, 767 F. App’x 173, 174-75 (2d Cir.
  2019) (“[A] district court may consider acquitted conduct at sentencing.” (citing United States
  v. Vaughn, 430 F.3d 518, 527 (2d Cir. 2005) (holding that “district courts may find facts
  relevant to sentencing by a preponderance of the evidence, even where the jury acquitted the
  defendant of that conduct” (internal citations omitted))); see also 18 U.S.C. § 3661 (expressly
  providing that “[n]o limitation shall be placed on the information concerning the background,
  character, and conduct of a person convicted of an offense which a court of the United States
  may receive and consider for the purpose of imposing an appropriate sentence”). Simonlacaj’s
  attempt to preclude the Court’s consideration of such facts runs afoul of well-settled law.

                  Second, Simonlacaj’s factual arguments are unpersuasive. Simonlacaj claims
  that the PSR “assumes without any support that those checks [from CWC to the Owner’s
  company] relate to John’s residence.” Def. Sentencing Mem. at 31. But the PSR sets forth
  this as a fact, which the government can prove by a preponderance of the evidence. The PSR
  does need not delineate all the evidence that can be marshaled to prove that fact. Suffice it to
  say that, should Simonlacaj press his factual objection to this statement, the government can

  individuals (and not Simonlacaj, the twelfth defendant) pleaded guilty. In any event,
  Simonlacaj’s years-long business and personal relationship with the likes of Andrew Campos
  and Vincent Fiore, two well-known, long-time inducted members of the Gambino crime family
  with prior federal convictions and who have since admitted their membership in the Mafia by
  their guilty pleas in this case, is beyond dispute.


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  provide evidence, including, among other things, testimony, to show that, at Kocaj’s direction,
  the Owner was paid for his work at Simonlacaj’s residence by providing the referenced
  fraudulent invoice that resulted in the two 2018 checks—testimony that is amply corroborated
  by, among other things, the numerous lawfully recorded conversations excerpted above and in
  the PSR.

                  Simonlacaj’s other factual challenges fail to acknowledge that the invoice was
  purposely fraudulent. So of course the invoice and the resulting checks do not explicitly
  reference Simonlacaj’s residence and instead refer to other raw materials relating to an actual
  Construction Company #1 project. 3 This does not “cast[] further doubt” that the invoice
  related to Simonlacaj’s residence, Def. Sentencing Mem. at 31, but instead is proof of how the
  scheme sought to conceal the fact that CWC was providing benefits to Simonlacaj and how
  they were to be paid for. Further, Simonlacaj incorrectly doubts that the “raw materials for
  kitchen cabinets alone would cost almost $50,000 – the approximate amount of the invoice
  tied to the $20,000 checks – thereby raising serious doubt that all that material was used in the
  Simonlacaj kitchen just to build some cabinets.” Id. The invoice covered, among other things,
  all of the Owner’s work at Simonlacaj’s residence, both labor and materials. This work was
  falsely listed as solely raw materials relating to another project so as to conceal the nature of
  the payments.

                 Finally, Simonlacaj’s reliance on internal investigations conducted by
  Construction Company #1 and an associated construction manager do not provide much, if
  any, probative value. Simonlacaj does not describe, nor is the government aware, of what
  specific steps these companies claim they took to try to identify specific harm. Regardless,
  these private companies do not have access to the same evidence as the government (and now
  the Court), including the recorded conversations and seized communications described above
  demonstrating that the purpose of the free work performed on Simonlacaj’s home was not out
  of any personal affinity but instead to secure his official support as Managing Director of
  Construction Company #1. (See, e.g., PSR ¶ 54 (statement of Fiore that there’s a “beautiful
  in” with Simonlacaj at Construction Company #1 and that Kocaj “whispers what he needs to
  whisper and we get things done”), ¶ 50 (statement of Kocaj that Simonlacaj directed that a
  change order be put in to pay for the work but that it should have been “pro bono”)).

                 Tasked with reviewing invoices that are fraudulently crafted so as to obscure
  their true purpose – such as the invoice purporting to be for work performed at a Construction

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            By contrast, the records that do explicitly reference Simonlacaj’s residence were
  internal records of the Owner’s and therefore did not have to be fraudulently accounted. (That
  these records reference Simonlacaj’s residence is proof that the Owner did in fact perform
  work at the residence, which is not in dispute.) The invoice, by contrast, which falsely stated
  that it related to a Construction Company #1 project, could not reveal the true nature of the
  payments without revealing the existence of the fraudulent scheme because it was to be
  submitted to Construction Company #1 to be paid for as a “change order,” as Kocaj stated
  during a recorded conversation. (PSR ¶ 50).


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  Company #1 project but instead was used to pay the Owner for work done at Simonlacaj’s
  residence – the failure to pinpoint such fraudulent charges actually paid out in a multi-million
  dollar project does not “speak[] volumes,” as Simonlacaj claims. Def. Sentencing Mem. at 22.
  It instead shows how the defendants were able to conceal the nature of the payments from their
  intended victim. And the government’s decision not to prove that Construction Company #1
  actually sustained financial harm should not materially affect the Court’s calculus as
  (a) Simonlacaj’s crime of conviction, filing a false tax return, does not allow for restitution to
  Construction Company #1, and (b) the conspirators certainly intended there to be loss to
  Construction Company #1, as reflected by, among other things, Kocaj’s guilty plea to Count
  Sixteen, with which Simonlacaj was also charged.

                 4.     Simonlacaj’s Visit to the Owner in August 2020

                 Simonlacaj also purports to clarify an “improper impression” from the PSR’s
  description of his visit to the Owner in August 2020, which is set forth in paragraph 51 of the
  PSR. June 2, 2021 PSR Obj. Ltr. at 3. As the PSR states, and which Simonlacaj does not
  appear to factually dispute, in August 2020, without counsel present, Simonlacaj visited the
  Owner “on multiple occasions” and showed the Owner records relating to his company that
  had been provided to Simonlacaj as discovery pursuant to Federal Rule of Criminal Procedure
  16 (and marked as the most sensitive material that was not to be taken out of Simonlacaj’s
  home by him). PSR ¶ 51; see ECF Dkt. No. 158 (defense letter filed on consent of the
  government, which was later endorsed by the Court, providing that “Protected Witness
  Discovery Material” may only be reviewed by defendants outside of the presence of counsel
  “in their personal residences” and may not be “cop[ied] . . . nor share[d] with, or disseminate[d]
  to, any other person”). During these conversations, Simonlacaj told the Owner, in sum,
  substance and in part, that he (Simonlacaj) “did not believe the Owner had been paid for the
  work performed at the Simonlacaj Residence (although the Owner had) and offered to pay the
  Owner.” (PSR ¶ 51). The Owner demurred and ultimately referred Simonlacaj to the Owner’s
  counsel.

                 Through counsel, Simonlacaj now claims that, “aware that the Government was
  basing the alleged amount of tax underpaid in 2018” in part on the work performed by the
  Owner’s company, his “main reason for the visits” was to obtain the company’s records related
  to any work performed at his residence. June 2, 2021 PSR Obj. Ltr. at 3. This is nonsensical.
  Simonlacaj had been provided with dozens of pages of records relating to the Owner’s
  company in discovery and went to the Owner offering to pay for the work done – which had
  been completed and paid for (by CWC) nearly two years prior. In fact, the whole basis for
  Simonlacaj’s guilty plea is that he understood that he did not have to pay for the work
  performed at his house (which was income for him), rendering his offer to pay for the work in
  August 2020 illogical. If Simonlacaj really wanted additional records, then his counsel could
  have sought a subpoena or made such a request. There was no legitimate reason, however, to
  offer to pay the Owner additional money for work previously performed if the “main reason”
  was simply to obtain records. And certainly there was no legitimate reason for Simonlacaj to
  do so on his own without counsel or even an investigator present, unannounced, and while
  possessing sensitive discovery material. That the Owner and his counsel thereafter did not

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   voluntarily comply with additional requests speaks more to the true nature of Simonlacaj’s
   intent rather than “cast[] doubt on the supposed tie between two vague checks and Mr.
   Simonlacaj’s residence.” June 2, 2021 PSR Obj. Ltr. at 3.

                  5.    Simonlacaj’s Payment of Taxes Before and After the Indictment

                    Throughout his sentencing submissions, Simonlacaj repeatedly downplays the
   nature of his crime, calling it an issue of timing in failing to report a “small” amount of income
   incurred in 2018. E.g., Def. Sentencing Mem. at 26 (“[T]he offense for which John is to be
   sentenced is a technical crime focused not on whether he reported all the relevant non-cash
   income from the house renovations and paid all tax due on that non-cash income but rather on
   the timing of a small portion of the reporting and payment.” (bold and italics in original)).
   Simonlacaj goes so far as to dispute that the amount of his income in tax year 2018 “was
   ‘substantially greater’ than reported.” June 2, 2021 PSR Obj. Ltr. at 4 (quoting PSR ¶ 110).
   This approaches, if not constitutes, a failure to fully accept responsibility for his actions, and
   it is directly contradicted by Simonlacaj’s sworn statement at his plea proceeding:

                  THE COURT:            Mr. Simonlacaj, Count 21 charges you that
                                        on approximately March 15th of 2019, you
                                        and others knowingly and willfully made
                                        and subscribed a false and fraudulent 1040
                                        for the tax year 2018 that was made under
                                        the penalties of perjury and filed with the
                                        IRS in which you falsely reported a total
                                        income of $534,915 when, as you knew,
                                        your total income was substantially greater
                                        than that amount. Did you, in fact, commit
                                        those acts?

                  DEFENDANT
                  SIMONLACAJ:           Yes, Your Honor.

   (See Ex. C, Jan. 12, 2021 Plea Tr. at 47 (emphasis added); see also Ind. ¶ 106 (alleging that
   the defendant “did knowingly and willfully make and subscribe a false and fraudulent Form
   1040 for the tax year 2018 . . . which tax return SIMONLACAJ did not believe to be true and
   correct as to one or material matters, in that the return falsely reported a total income of
   $533,915, whereas, as SIMONLACAJ then and there well knew and believed, his total income
   was substantially greater than the reported amount (emphasis added))). Therefore, unless
   Simonlacaj’s prior sworn statements to Judge Mann were incorrect and he now claims he did
   not commit the elements of the offense alleged in the indictment, Simonlacaj should not be
   heard to complain that his income in tax year 2018 was “substantially greater” than actually
   reported.

                 Simonlacaj also repeatedly argues that the offense of conviction is not terribly
   serious, and he should not be imprisoned, because he ultimately paid all the taxes owed in

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   2020—after the indictment was returned in December 2019. See, e.g., Def. Sentencing Mem.
   at 26 & n.4 (stating that the PSR “erroneously asserts that John amended or corrected his tax
   returns after being indicted”). To be sure, Simonlacaj was not required in December 2019 to
   report the full value of his income in tax year 2019. But Simonlacaj appears to argue that he
   intended all along to report the full amount of the free work on his home – worth well over
   $100,000 – in 2020 and was simply mistaken that some of this was reportable for tax year 2018
   and therefore should have been declared in 2019. This too defies logic.

                   For one thing, there is no indication that, absent the charges in this case,
   Simonlacaj would have reported the full amount of free work for tax year 2019 aside from the
   fact that he did so after being arrested and indicted. There are no text messages, recorded
   conversations, statements by an accountant or any other hint that, if the instant charges had not
   been filed, Simonlacaj would have reported the full amount of free benefits in 2020 and only
   would have been incorrect about how much should have been reported for tax year 2018 versus
   2019. To the contrary, as described above, there is ample evidence that the free benefits were
   secretive, fraudulently accounted for in co-conspirators’ records, and part of an illicit
   relationship tied to Simonlacaj’s employment. All of this occurred after Simonlacaj’s prior
   federal tax felony for aiding and abetting a false tax return. The only logical conclusion is that
   Simonlacaj was not incorrect about timing but instead never intended to report any of this
   income but, once arrested, realized it was in his best interest to do so. Therefore, Simonlacaj’s
   repeated attempts to minimize his misconduct should be wholly rejected.

                  6.     Prior Convictions

                    As described above, Simonlacaj was previously convicted of aiding and abetting
   the filing of a false tax return. Although Simonlacaj only appears to address this conviction in
   a footnote, see Def. Sentencing Mem. at 27 n.5, he does not claim that it is irrelevant. He does
   argue, however, that his youthful offender conviction in 1987 – when Simonlacaj, then age 17,
   together with others, “repeatedly struck [a victim] about the head, arms, and body with bats,
   causing bruising to the head, legs, and back and a broken left elbow” (PSR ¶ 161) – is
   “irrelevant and should be stricken” because he does not have any subsequent violent (versus
   financial) convictions. June 2, 2021 PSR Obj. Ltr. at 5. But there of course is no rule that a
   criminal conviction cannot be considered by the Court after some unspecified period of time.
   To the contrary, the Court is to consider all facts and circumstances of the case, including the
   defendant’s “history and characteristics.” 18 U.S.C. § 3553(a)(1); see id. § 3661. The Court
   is certainly able to assess the probative nature of this conviction, considering both its age and
   its violent nature, and apply the appropriate weight (if any). But wholesale exclusion of such
   conviction is improper.

                  7.     Defendant’s Purported Allergies

                   In his submissions, Simonlacaj claims that he has a “reported penchant for
   significant allergic reactions and the need to use an epi-pen when such reactions occur,” June
   2, 2021 PSR Obj. Ltr. at 5, which supports his plea for home incarceration because he cannot



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   safely receive the COVID-19 vaccine, see Def. Sentencing Mem. at 17-18 (claiming that the
   vaccines “pose a much greater risk to someone who is prone to allergic reactions”).

                  These bare assertions, without any supported medical documentation, should be
   rejected. Simonlacaj does not state what his allergies are – environmental, food-based, or to
   the ingredients in vaccines (mRNA or otherwise) – when and how often he has had to use an
   Epi-pen, the results of such use, and whether any medical professional believes that this
   supposed history renders the COVID-19 vaccines unsafe for him. Cf. Def. Sentencing Mem.
   at 17 (claiming Simonlacaj is “prone to serious anaphylactic allergic reactions which have at
   various times required that he seek immediate treatment and/or self-administer emergency
   epinephrine”). In fact, Simonlacaj provides a letter from Dr. Sanjay Naik, a cardiologist, who
   notes that if Simonlacaj were to contract COVID-19, he would be at higher risk of suffering
   severe complications. See ECF Dkt. No. 300-25. But Dr. Naik does not state that Simonlacaj
   is medically ineligible for the vaccine, and Simonlacaj’s uncorroborated statements to that
   effect should not be credited – or at least should not be used as a basis to conclude that
   imprisonment is improper.

                  Indeed, the U.S. Centers for Disease Control and Prevention (“CDC”)
   recommends that all adults receive the COVID-19 vaccine unless certain limited circumstances
   apply, including being allergic to an ingredient in the vaccine (or other similar chemicals) or
   having an allergic reaction to a prior vaccination. See “COVID19 Vaccines For People With
   Allergies,” https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/specific-
   groups/allergies.html. Indeed, the “CDC recommends that people get vaccinated even if they
   have a history of severe allergic reactions unrelated to vaccines or injectable medications—
   such as food, pet, venom, environmental, or latex allergies. People with a history of allergies
   to oral medications or a family history of severe allergic reactions may also get vaccinated.”
   Id. And even for people in some of those categories, the CDC recommends that the individual
   at least consult with a doctor and/or seek out the other type of COVID-19 vaccine, not that
   inoculation is always inappropriate. See id. Therefore, Simonlacaj’s request that the PSR
   include bare allegations of some type of allergic reaction is inappropriate or, in any event, does
   not warrant the relief sought.4



          4
            Simonlacaj also quotes Dr. Anthony Fauci as purportedly “recogniz[ing] the stress
   that can be caused by such [allergic] reactions [to the vaccines].” Sentencing Mem. at 17-18.
   But Dr. Fauci’s comment was made in a news release announcing the study of people who
   suffered a “systemic allergic reaction” or a “mast cell disorder” as a result of the COVID-19
   vaccines, which are extremely rare. See, e.g., “Allergic Reactions Including Anaphylaxis
   After Receipt of the First Dose of Pfizer-BioNTech COVID-19 Vaccine — United States,
   December 14–23, 2020,” https://www.cdc.gov/mmwr/volumes/70/wr/mm7002e1.htm
   (documenting an average of 11.1 cases of reported anaphylaxis per 1,000,000 Pfizer COVID-
   19 vaccines, i.e., approximately 0.001%). Dr. Fauci did not state that individuals with generic
   allergies should not be vaccinated, and the CDC guidance is to the contrary.


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                 8.      Other Penalties, Including Applicable Fine

                 The government agrees with Simonlacaj’s objections to the statutory and
   Guidelines penalties other than incarceration, including that probation with a condition of
   home confinement is legally permissible (but, as argued herein, the government contends is
   unwarranted), and that the maximum possible fine is $100,000 and the Guidelines range for a
   fine is between $2,000 and $20,000 (under the government’s calculation) and between $500
   and $9,500 (under the defendant’s). See June 2, 2021 PSR Obj. Ltr. at 5-6.

                 9.      Coverage Paragraph

                 Simonlacaj argues it is “egregious” and “blatantly erroneous” to cite the
   government’s agreement not to further pursue the wire fraud conspiracy charge alleged in the
   indictment as possible grounds for a possible upward departure. June 2, 2021 PSR Obj. Ltr.
   at 5. The government defers to the Probation Department’s practice to do so, especially as in
   some cases (although not as to this defendant), a coverage paragraph is the subject of
   negotiation between the parties. In any event, and consistent with the plea agreement, the
   government does not move for an upward departure under the Guidelines nor does it rely on
   the agreement’s coverage paragraph as proof of the facts asserted herein and in the remainder
   of the PSR.

   IV.    The Section 3553(a) Factors Weigh in Favor of a Sentence of Ten Months In Prison

                  For the reasons set forth below, the government respectfully requests that the
   Court impose a sentence of 10 months’ imprisonment and a $20,000 fine. Such a sentence is
   appropriate given the nature and characteristics of the offenses, the history and characteristics
   of the defendant, and the need for the sentence to reflect the seriousness of the offenses, to
   promote respect for the law, to provide just punishment, to afford adequate deterrence, and to
   protect the public.

          A.     Nature and Circumstances of the Offense

                  The nature and circumstances of the defendant’s crimes are very serious and
   warrant a substantial term of imprisonment. As described above, Simonlacaj received over
   $100,000 in free benefits in connection with his work as Construction Company #1’s
   Managing Director of Development. This work was provided by CWC, a company operated
   by multiple members and associates of the Gambino crime family, including a captain
   (Campos), a soldier (Fiore), and multiple associates (including Kocaj). CWC had substantial
   business with Construction Company #1, and Simonlacaj was instrumental in helping secure
   that work. (See, e.g., PSR ¶ 55 (statement of Kocaj that “If it was not for my cousin [i.e.,
   Simonlacaj] you guys would not be where you are today”)). As Fiore put it, there was a
   beautiful “in” with Simonlacaj, and that Kocaj could “whisper what he needs to whisper and
   we get things done.” (Id. ¶ 54). Simonlacaj failed to declare that over $50,000 of the work
   was performed and paid for (by others) in 2018, and all indications are that he would not have
   declared any of these benefits as income absent the instant charges. As there is no analogue

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   to “intended loss” under the tax Guidelines as they only account for the portion undeclared in
   2018, the overall nature and circumstances of the offense warrant a significant sentence.

                  Accordingly, although Simonlacaj stands guilty of a tax offense, the full nature
   and circumstances show that his misconduct was broader, receiving illicit benefits from a
   subcontractor whom he supported in his employment. Such misconduct corrupts the
   construction industry in ways that are extremely hard to detect. By agreeing to pass along the
   costs of such work to Construction Company #1, even though, as Kocaj put it, it should have
   been done “pro bono” (PSR ¶ 50), this would cause Construction Company #1 or its investors
   or lenders harm. Also harmed are the American taxpayers who pay their fair share, unlike the
   defendant and his co-conspirators, who cheat the system to line their own pockets.

                  The nature and circumstances are even more serious as Simonlacaj is a wealthy
   man who was motivated by greed, not need. (See Ex. A at 60-61 (statement of Judge Briccetti
   that Simonlacaj “didn’t need the money, he’s given it back, he took it because he was greedy.
   That’s what this is about. It’s about greed and about screwing the rest of the populace who
   pays their taxes basically every two weeks”)). He has a reported net worth of over $1 million,
   and at the time of the instant offense, was earning more than $500,000 (and later $650,000) a
   year. (PSR ¶¶ 184). He owns multiple properties, bank accounts, retirement accounts,
   insurance policies, vehicles, and jewelry. (PSR ¶¶ 187-89). He did not fail to declare a gift
   from a friend or income from a legitimate side business. Rather, as Simonlacaj put it himself
   in a text message, “This is my house not a fucking job site tell [a co-defendant]. Or will just
   call someone else he he [sic] can go fuck himself.” (PSR ¶ 52). He failed to report a
   substantial amount of illicit payments that co-conspirators sought to conceal, fraudulently
   accounting for them on their books and in invoices seeking payments.

                  This misconduct occurred after Simonlacaj’s prior federal tax conviction in the
   Southern District of New York, after he promised a federal judge that “[t]his will never happen
   again,” further revealing the severity of the instant conduct. Indeed, he received some benefits
   in 2016 and, as relevant here, the charged wire fraud conspiracy began in approximately June
   2018, just three months after his prior term of supervised release ended. (See PSR ¶ 162).
   That Simonlacaj so quickly resumed illegal activity weighs further in favor of the requested
   sentence.

                  Finally, Simonlacaj’s sentence is all the more serious because it involved his
   receipt of bribes from the Gambino crime family, a pernicious criminal organization whose
   substantial influence in the construction industry and the New York City community more
   generally persists. Simonlacaj helped award valuable, multi-million dollar contracts and
   payments to CWC, thereby enriching the Mafia all while robbing the American taxpayer. (See
   Ex. A at 57 (“I think it is a big deal. It undermines confidence in the system. It feeds the
   notion that the system is rigged in favor of the rich . . . It’s offensive, and appalling and just
   not right and there’s no excuse for it.”)).

                 Accordingly, the nature and circumstances of the offense counsel in favor of a
   term of imprisonment of 10 months.

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          B.     Defendant’s History and Characteristics

                  The defendant’s history and characteristics also weigh in favor of the requested
   sentence. Although Simonlacaj addresses his prior conviction just once, in a footnote, his
   inability to comport with the law so shortly after receiving a substantial break from Judge
   Briccetti speaks volumes to Simonlacaj’s true character. Indeed, the facts and circumstances
   of his prior conviction are similar to those here. As Judge Briccetti explained, Simonlacaj
   there used his sister’s company to obtain a $550,000 contract with the New York Power
   Authority and then caused her company to fail to pay over $400,000 in income taxes by falsely
   inflating expenses. (See Ex. A at 55-56). He was the “architect” and true beneficiary of the
   scheme and used his sister as a “nominee” to obtain the work. (Id.) And there, as here,
   Simonlacaj was motived by “one thing, which is personal financial gain.” (Id.) The
   defendant’s history of repeatedly violating the tax laws therefore warrants a substantial
   sentence, especially in light of the defendant’s prior violent crime when he was 17 years old.
   (See PSR ¶ 161).

                  Simonlacaj’s behavior after his arrest in this case also demonstrates why prison
   is appropriate. While on pretrial release, he chose to unilaterally, on multiple occasions,
   approach an individual whom he knew the government believed had relevant information
   about the charged offenses. Simonlacaj went there under the guise of offering to pay the
   Owner for work long ago performed and paid for – even though not having to pay for the work
   was the object of the fraud and tax crimes – while possessing sensitive Rule 16 discovery.
   Although he now claims to have made these trips to obtain records from the Owner (even
   though they were already provided to him in discovery), this conduct shows a recklessness that
   warrants punishment. Indeed, Simonlacaj now attempts to blame the Owner and his counsel
   for not complying with subsequent voluntary requests (not any subpoena or court order), not
   realizing how this shows the impact of Simonlacaj’s actions.

                  In urging a probationary sentence, Simonlacaj spills much ink describing
   various good deeds he has done in the community. 5 See Def. Sentencing Mem. at 1-17. To
   be sure, such acts are relevant and should be considered by the Court. (Cf. Ex. A at 28
   (statement of Judge Briccetti: “I wish you didn’t wait until page 12 to start talking about the
   offense conduct. The next time you have a case in front of me I prefer that you spend time on
   the offense conduct on page 1. It is the most important factor.”)). This is true even though at
   least one of Simonlacaj’s letters is from a fellow federal felon who was convicted of fraud and
   tax offenses arising out of the same investigation as Simonlacaj’s prior case. Compare Def.
   Sentencing Mem., Ex. 39 (letter of Steven A. Sheridan), Def. Sentencing Mem. at 11 (relying
   on Sheridan’s opinion of Simonlacaj as “honorable,” among other things), with United States
   v. Sheridan, 16-CR-237 (CS) (S.D.N.Y.), ECF Dkt. No. 24 (judgment noting conviction for

          5
            Simonlacaj does not specify if any of his charitable deeds were the result of the
   sentence imposed by Judge Briccetti, which included 100 hours of community service as part
   of his one-year term of supervised release.


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   wire fraud conspiracy and filing a false tax return), and Ex. A at 40, 42 (statement of counsel
   for Simonlacaj at his prior sentencing that Sheridan’s “offense . . . was more serious [than
   Simonlacaj’s] because there was payroll fraud involved, and the loss was higher,” and Sheridan
   committed a “version of fraud” by overstating expenses in submissions to the New York Power
   Authority). And although the government does not criticize anyone from writing to support a
   friend or family member, it is telling that many of these same individuals wrote letters on
   behalf of Simonlacaj at his first sentencing, urging the same leniency now sought. All told,
   these mitigating facts do not outweigh all of the other Section 3553(a) factors to warrant a non-
   incarceratory sentence.

                   Simonlacaj’s health conditions are not to the contrary. As he admits, and his
   cardiologist confirms, Simonlacaj’s bicuspid aortic valve is a congenital condition he has dealt
   with since birth that he is “currently able to manage.” Def. Sentencing Mem. at 17. More
   specifically, Simonlacaj “is currently not prescribed medication for this, but takes an aspirin
   daily for this condition.” (PSR ¶ 178). Even if the valve needs to be replaced “eventually”
   (which his doctor does not say), there is no reason that this procedure cannot be done in 10
   months at the end of any term of imprisonment. And although Simonlacaj appears to have
   suffered kidney stones, at times requiring surgical intervention, there is no indication that this
   is the sort of extremely serious medical condition that cannot adequately be handled by the
   Bureau of Prisons (should this ailment happen to recur during a period of incarceration).

                  Finally, as noted above, there is no basis to believe that Simonlacaj medically
   cannot receive the COVID-19 vaccine such that he must face a “Hobson’s choice” between
   receiving the shot or increasing his risk of contracting the novel coronavirus while in prison.
   Def. Sentencing Mem. at 18. Simonlacaj has not offered the opinion of any medical
   professional stating that his as-yet-unspecified allergy, which appears not to relate to any
   vaccine (else Simonlacaj surely would have stated so), means he cannot safely receive the
   vaccine. All indications, including the CDC’s recommendation, are to the contrary. Therefore,
   Simonlacaj should not be heard to complain that a term of imprisonment is so unduly harsh
   where he has not established that he cannot receive the vaccine and enjoy substantial
   protections against suffering from any serious complications should he even contract the
   disease.

                 In short, all of these facts and circumstances prove that Simonlacaj is a recidivist
   whose history and characteristics compel a substantial prison sentence.

          C.      Affording Deterrence and Protecting the Public

                 A sentence of 10 months’ imprisonment and a fine of $20,000 is also necessary
   to afford adequate deterrence to criminal conduct and protect the public from further crimes of
   the defendant. 18 U.S.C. § 3553(a)(2)(B) and (C).




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                 1.      Specific Deterrence

                   In this case, specific deterrence and incapacitation are critical. Although
   Simonlacaj essentially ignores his prior conviction in his voluminous submissions, see Def.
   Sentencing Mem. at 28 (stating “with very limited exception [sic], he is a law-abiding citizen”),
   he cannot escape the fact that a prior term of imprisonment – three months – which was a
   substantial downward variance from the then-applicable Guidelines range did nothing to deter
   him from committing the instant offense. To the contrary, Simonlacaj began receiving free
   benefits from CWC in 2016, which increased substantially in middle of 2018 – just months
   after his prior term of supervised release ended. Simonlacaj’s promise to Judge Briccetti that
   “This would never happen again” proved false, and so if a three-month term of imprisonment
   was not enough to deter Simonlacaj the first time, a higher sentence is required here.

                  In urging otherwise, Simonlacaj asserts without analysis that he “poses no
   danger to society.” Def. Sentencing Mem. at 2. While he may not be likely to commit acts of
   physical violence in the future (notwithstanding his participation in a brutal assault many years
   ago), he does pose a danger of future economic harm. After his first conviction, Simonlacaj
   went right back to the construction industry working at Construction Company #1, thereafter
   abusing his position as a powerful executive to enjoy the free benefits described above. Here
   too, Simonlacaj states that has had “several people reach out to [him] about possible
   employment” after his instant arrest. (PSR ¶ 190). Should he not be sentenced to a term of
   incarceration, Simonlacaj believes, “these opportunities will likely allow [him] to obtain work
   quickly.” (Id.). Not only does this show that Simonlacaj will likely be back in a similar
   position that facilitated his commission of the instant offense, this also shows that his arrest,
   resulting press coverage, and his second felony have not been such a “punishment” as to
   preclude his ability to obtain new employment. Def. Sentencing Mem. at 26-27.

                 2.      General Deterrence

                   The need for general deterrence, which Simonlacaj does not address, also
   weighs heavily in favor of a term of incarceration. At Simonlacaj’s prior sentencing, Judge
   Briccetti put it best:

                 I believe, based on my 35 years of experience or so in the federal
                 criminal justice system, I believe that the general deterrent effect
                 of a jail sentence in a tax case is more than in just about any other
                 type of case. I think it is particularly relevant in a tax case. . . .
                 And the following that if you commit a tax crime, no matter how
                 rich and successful and no matter how much you’re loved and no
                 matter how much of an impact it’s going to have on your family,
                 your business, your employment, the knowledge that if you
                 commit a tax crime like this and get caught and go to jail even for
                 a short period of time gets people’s attention. And it certainly
                 makes people think that tax fraud is just not worth it.



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   (Ex. A at 61-62). This comports with the instructions in the Guidelines that “because of the
   limited number of criminal tax prosecutions relative to the estimated incidence of such
   violations, deterring others from violating the tax laws is a primary consideration underlying
   these guidelines.” U.S.S.G. § 2T1.1, intro. comm. It is also consistent with the principle that
   white-collar criminals are more likely to be deterred from others’ sentences, counseling in
   favor of a term of incarceration. See United States v. Goffer, 721 F.3d 113, 132 (2d Cir. 2013)
   (affirming the district court’s decision that the sentence was needed where the defendant
   decided insider trading was “a game worth playing” because unlike other crimes, such crimes
   frequently “require[] high sentences to alter that calculus”); see also United States v. Brown,
   880 F.3d 399, 405 (7th Cir. 2018) (“[W]hite-collar criminals ‘act rationally, calculating and
   comparing the risks and rewards before deciding whether to engage in criminal activity.’”
   (quoting United States v. Warner, 792 F.3d 847, 860-61 (7th Cir. 2015)).

                 In addition, a substantial term of incarceration and fine are necessary to deter
   others who may seek to associate with organized crime. Other executives in the construction
   industry must be deterred not to do business and commit crimes with members and associates
   of the Mafia, enriching them and facilitating their continued threat to our community. The
   government urges the Court to send a message that committing such crimes with people
   associated with organized crime will be met with substantial punishment.

          D.      Reflecting the Seriousness of the Offenses, Promoting Respect for the Law
                  and Providing Just Punishment

                  For many of the same reasons, a ten-month term of incarceration and fine of
   $20,000 is necessary to reflect the seriousness of the offense, promote respect for the law and
   provide just punishment. Anything less would send the message that one can time and time
   again break federal tax laws, including in connection with other offenses as part of doing
   business with the Gambino crime family, and move on to your next job with little consequence.

          E.      Avoiding Unwarranted Sentencing Disparities

                   Finally, there is no need to impose a non-incarceratory sentence to avoid
   unwanted sentencing disparities, as Simonlacaj claims. Of course, each case has its own
   distinguishing characteristics, and this is no different. Not many tax crimes involve a repeat
   tax recidivist whose latest offense involves the receipt of over $100,000 in illicit benefits from
   a mob-controlled company in connection with the defendant’s employment. For this reason,
   United States v. Yun, 19-CR-131 (AMD) (E.D.N.Y.), is plainly distinguishable. In that case,
   the government did not oppose a sentence below the Guidelines, which of course is not the
   case here. See Yun, ECF Dkt. No. 10, at 1. Most importantly, there, the defendant
   “immediately took responsibility for his conduct and, from the outset, fully cooperated with
   the government’s investigation.” Id. at 2; see also id. at 3 (noting the defendant’s “otherwise
   law-abiding history”). The defendant also was a sole proprietor who failed to pay income from
   his business due to hardship and other extenuating circumstances. See Yun, ECF Dkt. No. 11,
   at 2-3. Here, of course, Simonlacaj, a wealthy man motivated by nothing more than simple
   greed, has not fully embraced the scope of his illegal conduct, even going so far as to claim

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   that he did not fail to report substantially more than his declared income contrary to his sworn
   statement at the guilty plea.

                   United States v. Park, 12-CR-344 (FB) (E.D.N.Y.), is similarly distinguishable.
   There, the defendant operated his business to use revenue to pay employees, thereby failing to
   report the full income of his business. See Park, ECF Dkt. No. 20, at 2-3. But the offense of
   conviction had occurred about eight years before sentencing, during which time he had already
   indicated his acceptance of responsibility. See Park, ECF Dkt. No. 18, at 2-3. The defendant
   also suffered from alcoholism, an abusive childhood and other extenuating circumstances. See
   id. These are all facts not present here. See also United States v. Nikc, 20-CR-173 (NSR)
   (S.D.N.Y.), ECF Dkt. No. 13 at 3 (defendant with no criminal history and who had suffered
   immense tragedy, specifically, the murder of his pregnant wife and unborn child and father,
   leaving the defendant and his two daughters, and causing PTSD and other health issues).

                   In fact, just recently, on June 7, 2021, the Honorable Rachel P. Kovner, United
   States District Judge for the Eastern District of New York, imposed a 20-month sentence for a
   defendant who had a prior state conviction for filing false documents, with a tax loss of over
   $700,000 for paying employees “off-the-books.” See United States v. Denko, 20-CR-15
   (RPK) (E.D.N.Y.). With a lower tax loss but with other aggravating factors – including
   association with organized crime, the receipt of unreported income as part of an illicit bribery
   scheme, a prior federal tax felony and improper conduct post-arrest – this case warrants
   nothing less than half of that sentence, or 10 months in prison.

   V.     Conclusion

                   Given all of the facts and circumstances discussed above, the government
   respectfully submits that any leniency toward the defendant is unwarranted and would not
   satisfy the statutory purposes of sentencing. Therefore, a sentence of 10 months’ imprisonment
   and a $20,000 fine is appropriate.

                                                      Respectfully submitted,

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